
66 So.3d 408 (2011)
Timothy Lee DALLAS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-2373.
District Court of Appeal of Florida, First District.
August 4, 2011.
Robert L. Sirianni, Jr., and Paetra T. Brownlee of Brownstone, P.A., Winter Park, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
*409 PER CURIAM.
The petition seeking belated appeal is granted. Petitioner's failure to timely file the notice of appeal in case number 1D11-1784 is hereby excused. The show cause order issued on April 7, 2011, in case number 1D11-1784 is discharged.
PETITION GRANTED.
BENTON, C.J., ROBERTS and RAY, JJ., concur.
